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!                    6                                   UNITED STATES DISTRICT COIJRT
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                     7                                            DISTRICT OF N EVADA
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                                                              )
                     9 UNITED STATES OF AMERICA,              )
                ..                                            )
                   10                Plaintiff,               )      3:08-CR-0006-LR. H-ItAM
                                                              )                        .
                   11 v.                                      )
                                                              )      OROER
                   12 DARIN JEROM E FRENCH,and                )
                      JENNIFER LYNN FRENCH                    )
'                  13                                         )
                                     Defendants.              )
                   14                                         )
'                  15       BeforethecourtisdefendantJenniferLynnFrench's($CFrench'')motionforreimbtzrsement
                 '
                  16 ofpro seexpensesunder18U.S.C.j3006A.Doc.//273.1
;                 17        Pursuantto Section3006,4 ()fTitle 18oftheUnited StatesCode,uponapyicationbyan
!                    18 indigentdefendant,thecourtmay approvepaymentforttinvestigative,expert,and otherservices''
!                                                                                                                           !
                     19 necessarytoprepareanadequatedefense.18U.S.C.j3006A(e)(2)(A).Here,Frenchrequests
!                 20 reim btlrsementof expensesincurred from August14,2010,through February 22,2011,including
i       .
                  21 gasolineptlrchases,m oney orders,phonebills,and ofticesupplies.1d.
:                ''22
                                                                                                          .
l                                    The courthasreviewed French'smotion and findsFrench isentitled to reim bursementfor
                     23 $100 80 to accessthe court,sdocketand tiling system ,and $84.00to conductwqb conferenceswith
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                     24 herincarcerated co-defendant.French hasm ade asufficientshowing thatthese expenseswere
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                                     lRefersto the court,s docketnumber.
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    l necessary forherdefense.How ever,the courtGnds thatFrench is notentitied to reim bursem entof
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'   2 the rem aining listed expenses:because she has m ade no show ing thatthey were necessac forher

    3 defense.
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'   4            Additionally,thecourtfindsthatFrench isnotentitled to reimbursem entofexpenses
    5 incurred priorto September8,2010,asamatteroflaw.An lndigentpro secriminaldefendantm ay
p
    6 requestreim bursem entfornecessary defense expensesonly afterapprovalofpro se stam s.See 18

    7 u sc j3oo6A.Frenchdidnotobtainapprovalfrom thecouzttorepresentherselfuntil
    8 September8,2010.Therefore,alIexpensesFrench incurred priorto Septem ber8,2010,arenot

    9 recoverable.
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    j0
I   11           IT ISTHEREFORE ORDERED thatdefendant'smotionforreimbursementofpro se
1                                                                     .
    12 expenses(Doc.#273)isGRANTED in-partandDENIED in-partinaccordancewiththisorder.
    13           IT IS FIJRTI'IER ORDERED thatdefendantJenniferFrench isentitled to reim btzrsementof
i                                                                                          .
    14 necessary defense costsin theamountof$184.80,in accordancewith Section 3600A ofTitle 18 of

i   15 the U nited StatesCode.
    16           IT IS SO ORDERED.
!   17           DATED this f      day ofApril,2011.                       .

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!   19                                                    L    Y R.HICKS
                                                          UNITED STATES DISTRICT JUDGE
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'      5         2 M any oftheremainingexpensesare si
                                                    m ply identified by JenniferFrench,sown unique filing name
'   a..,
           incjuding:magicjack;westernunionqkcollect;vonage;walmartketc.Thecourtisunabletodetenninewhat
    26 theseexpensesrelatedtoand how they arerelevanttoJenniferFrench'sdefense.
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